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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,
                                                           CASE No. 1:20-CR-183
v.
                                                           HON. ROBERT J. JONKER
ADAM DEAN FOX, and
BARRY GORDON CROFT, Jr.,

                Defendants.

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                                            ORDER

         The matter came up for hearing on June 30, 2022, on Defendants Croft and Fox’s Renewed

Motions for Acquittal under FED. R. CRIM. P. 29(c). (ECF Nos. 629 and 630). For the reasons

recited from the bench, the motions (ECF Nos. 629 and 630) are DENIED.

         IT IS SO ORDERED.



Dated:      July 1, 2022                    /s/ Robert J. Jonker
                                            ROBERT J. JONKER
                                            CHIEF UNITED STATES DISTRICT JUDGE
